879 F.2d 859
    Schwartz (Ilene T., Steven)v.Philadelphia National Bank, d/b/a PNB Discount BrokerageService, Kelly (Kevin), National Financial ServicesCorporation, The Pershing Division of Donaldson, Lufkin &amp;Jenrette Securities Corp., t/a Pershing, John Doe, Jane Doe,Roe (John, Jane)
    NO. 88-1862
    United States Court of Appeals,Third Circuit.
    JUN 19, 1989
    
      Appeal From:  E.D.Pa.,
      Newcomer, J.,
    
    701 F.Supp. 92
    
      1
      AFFIRMED.
    
    